(   .         Case 3:23-cv-01367-KAD        Document 47       Filed 03/07/25     Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                                 FOR THE
                                     DISTRICT OF CONNECTICUT


        STEPHEN C. MCCULLOUGH                             )
                     V.                                  )       Case No: 3:23-cv-01367-KAD
          TOWN OF ROCKY HILL                             )




                                 MOTION FOR EXTENSION OF TIME




              The plaintiff hereby requests the Court to extend time for plaintiff to file an

        objection to motion for attorney's fees, 21 days, from March 7, 2025, to March 28, 2025.

        This is due to recent required and numerous filings and hearing in Connecticut Housing

        Court HFH-CV24-6030117-S & HFH-CV24-6031415-S, Appellate Court AC 48503, and

        Federal Court 3:25-CV-00330-OAW,and briefing due in Appellate Court on March 24,

        2025. Further, there have been duplication of attorney charges in previous filings.




        DATE: March 7, 2025
                                                                        s
                                                                        Plaintiff, Pro Se

                                                     1
-   ...         Case 3:23-cv-01367-KAD         Document 47       Filed 03/07/25     Page 2 of 2




                                                CERTIFICATION

                 I hereby certify that plaintiff has sent a copy of the foregoing by first-class mail to

          defendant's attorney at:

          Pullman & Comley LLC
          850 Main St
          P.O. Box 7006
          Bridgeport, CT 06601-7006


          DATE: March 7, 2025
                                                                                               llough
                                                                           Plaintiff, Pro Se




                                                        2
